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                                                                             Leita Walker
                                                                             Tel: 612.371.6222
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                                                                             walkerl@ballardspahr.com




January 25, 2022


VIA ECF

The Honorable Paul A. Magnuson
Senior Judge
U.S. District Court, District of Minnesota
316 N. Robert Street
St. Paul, MN 55101

Re:      Permission to file Motion for Reconsideration

Dear Judge Magnuson:

Pursuant to D. Minn. Local Rule. 7.1, I write to request permission to file a motion for
reconsideration of the Court’s January 24, 2022, order denying the Media Coalition’s
Motion Objecting to Closure of the Courtroom.1 The Court explained in the text-only order
that it “cancelled the hearing” at issue “and the Motion is therefore moot.” See Dkt. 219.

Respectfully, the Coalition’s Motion did not just object to exclusion of the press and public
from a court proceeding.2 It also explicitly requested immediate access to any transcript of
the proceeding. See Dkt. 217 at 6. After denying the Coalition’s Motion as moot, the Court
subsequently acknowledged that such transcript exists but sealed it, “pending further order of
the Court,” citing only broadly “the interests of justice and of a fair trial.” Dkt. 222.




1
  As you know, I submitted the Motion via email to your chambers at approximately 9:42
a.m. on Friday morning, though the Motion did not appear on PACER until later that day.
Attached to this letter as Exhibit A is the transmission email.
2
  Moreover, the Coalition notes that although the Court purported to cancel what it referred
to as a “hearing,” it did go forward with some sort of proceeding that, although conducted on
the record and attended by counsel for all parties, was closed to the press and public. See
Dkt. 216.



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Because the Media Coalition’s Motion requested access to any transcript of the meeting and
because a transcript does indeed exist, the Motion was not moot as of January 24, and it is
not moot today. The Court did however, effectively deny that request on the merits when it
sealed the transcript.3

As the Media Coalition has previously explained both in its Motion and in a January 17
letter to Your Honor,4 there is a presumptive, contemporaneous First Amendment right of
access to criminal court proceedings, exhibits, transcripts and other court records. The right
is not absolute, but can be restricted only if the Court gives the press and public a chance to
be heard and then makes on-the-record findings of fact and conclusions of law that secrecy is
needed to safeguard a compelling government interest and that no alternatives will
adequately protect the threatened interest.

Because the Court did not apply the requisite procedural safeguards before sealing the
transcript of Friday’s proceeding, the Media Coalition respectfully requests that it be heard
on its right of access to the transcript. As for the exclusion of the press and public from the
proceeding itself: that exclusion caused irreparable harm that cannot be fully undone by
providing access to a transcript of the proceeding. However, we believe it would be
productive for the Media Coalition to have an opportunity to address with the Court how
further closures can be avoided during what remains of this important trial.

Respectfully,

s/ Leita Walker

Leita Walker




3
 But for the sealing, the transcript would be available for purchase pursuant to the Media
Guidance Document, which I have attached hereto as Exhibit B.
4
    I have enclosed this letter as Exhibit C and your response to it as Exhibit D.



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Simon, Kimberly (Minn)

From:                                  Walker, Leita (Minn)
Sent:                                  Friday, January 21, 2022 9:42 AM
To:                                    magnuson_chambers@mnd.uscourts.gov
Cc:                                    Rebeccah Parks; Thomas C. Plunkett; Earl Gray; Simon, Kimberly (Minn); Parsons, Emmy
                                       (DC)
Subject:                               Media motion objecting to courtroom closure
Attachments:                           401499376_1.pdf


Dear Judge Magnuson,

In the interest of time I am emailing the attached motion to your chambers. My assistant will be filing it on the docket
shortly. I don’t have email addresses at my fingertips for all counsel of record but have copied Mr. Plunkett and Mr. Gray
and assume other counsel of record will receive the motion once it’s on file.

The Media Coalition requests an opportunity to be heard before any closure of the court today or going forward.

Sincerely,


Leita Walker




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Minneapolis, MN 55402-2119
612.371.6222 DIRECT
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                     EXHIBI7&
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                                                                                 Leita Walker
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January 17, 2022


Via E-mail (magnuson_chambers@mnd.uscourts.gov)

The Honorable Paul A. Magnuson
Senior Judge
U.S. District Court, District of Minnesota
316 N. Robert Street
St. Paul, MN 55101

Re:      Unconstitutional closure of trial

Dear Judge Magnuson:

            
their behalf to express disappointment and        the
criminal trial of Defendants Thomas Lane, Alexander Kueng, and Tou Thao for the death of
George Floyd in what amounts to a closed courtroom, in violation of the First Amendment to
the U.S. Constitution. The Media Coalition respectfully requests that the Court take
immediate steps to rectify the situation.

We do not need to explain to this Court the gravity of the trial     
                
the criminal justice system deals with those accused of killing him. As a result, ensuring the
trial (which begins January 20) is open to the press and public is imperative. As the Supreme
Court has recognized, where a trial has been concealed from public view an unexpected
outcome can cause a reaction that the system at best has failed and at worst has been
corrupted. To work effectively, it is   s criminal  satisfy the
appearance of justice, and the appearance of justice can best be provided by allowing people
to observe it. Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 572 (1980) (quoting
Offutt v. United States, 348 U. S. 11, 14 (1954)).

In recognition of this unassailable principle he right to attend criminal trials is implicit in
the guarantees of the First Amendment, id. at 580  hat transpires in the court room
is public property, Craig v. Harney, 331 U.S. 367, 374 (1947). Or as the Eighth Circuit has
     government, and secret trials are inimical to the spirit of a
republic, especially when   liberty is at stake. The public, in a way, is necessarily a
     United States v. Thunder, 438 F.3d 866, 867 (8th Cir. 2006).




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The right of access is not a merely a token or theoretical right. That is, pandemic or no, the
First Amendment is not satisfied if but a few members of the press and the public are able to
observe a trial. Rather, the First Amendment right of access is a right of meaningful access,
  ts are obligated to take every reasonable measure to accommodate public
 Presley v. Georgia, 558 U.S. 209, 210 (2010) (per curiam) (emphasis added).

In Presley, for example, this meant that the trial court violated the Constitution when it
excluded the    voir dire on the basis that 42 potential jurors would be
           blic] to sit in the
 Id. at 210. Likewise, in Davis v. United States, the Eighth Circuit concluded that
allowing only 25 members of the public to attend a trial when the courtroom could hold 100
spectators was reversible error. 247 F. 394, 395, 398-99 (8th Cir. 1917) (per curiam).

Importantly, the right of access includes not just the right to observe criminal proceedings
but also a contemporaneous right to access and copy exhibits and other criminal court
records. Nixon v. Warner , Inc.          
courts of this country recognize a general right to inspect and copy    
 see also In re Search Warrant for Secretarial Area Outside Office of Gunn ,
855 F.2d 569, 572-73 (8th Cir. 1988) (holding that First Amendment right of access extends
even to pre-trial materials such as search warrants); In re NBC, 635 F.2d 945, 952 (2d Cir.
              
   

             cluding
representatives of the press, through their attendance at a public session of court, it would
take the most extraordinary circumstances to justify restrictions on the opportunity of those
not physically in attendance at the courtroom to see and hear the evidence, when it is in a
        In re NBC, 635 F.2d at 952; see
also In re CBS              
judicial records applies to videotaped depositi   Valley Broad. Co. v. U.S.
Dist. Ct., 798 F.2d 1289, 129397 (9th Cir. 1986) (granting request by the press to make
copies of audio and video tapes introduced into evidence at the close of each day of trial);
United States v. Peters, 754 F.2d 753, 755 (7th Cir. 1985) (vacating order of trial court that
excluded journalist from accessing admitted exhibits during the pendency of trial); United
States v. Criden, 648 F.2d 814, 819 (3d Cir. 1981)       
affording that opportunity contemporaneously with the introduction of the tapes into
            

Despite these well-established principles, the media understands that access to the trial of
Messrs. Lane, Kueng, and Thao will be limited as follows:

                 During voir dire the only people in the courtroom will be trial participants
                  (i.e., defendants, attorneys, and court staff), potential jurors, and just two



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                  members of the media. No member of the public will be admitted, not even
                             
                  be admitted.

                 During the trial itself, four members of the media plus a sketch artist will be
                  admitted to the courtroom. The defendants and the Government will also have
                  seats reserved for family members and others. Again, no members of the
                  general public will be admitted.

                 A closed-circuit feed of the proceedings will be streamed to two overflow
                  roomsone for the media and one for the general public. Due to social
                  distancing, only about 40 people will be admitted into each overflow room.
                  Spectators in the overflow rooms will watch the proceedings via monitors
                  divided into four quadrants: one showing the lectern (which attorneys may or
                  may remember to approach before speaking), one showing the witness stand,
                  one showing the bench, and one showing the evidence. The cameras will not
                  pan or zoom. The Court is not able to guarantee that the display of the
                  evidence will be legible. Further, as currently configured, the camera showing
                  the lectern will not show counsel tables, meaning that no one in the overflow
                  room will ever lay eyes on any one of the defendants throughout the entire
                  trial.1 Likewise, no one in the overflow rooms will be able to observe the
                  jurors because no camera will be trained on them even though the closed-
                  circuit nature of the feed all but eliminates any concerns for their privacy.

                 The Court has so far refused requests to make trial exhibits accessible to the
                  Media Coalition during the trial.

To borrow words from The Honorable Judge Peter Cahill, who oversaw the state court
             the
draconian restrictions on courtroom access (especially during voir dire), a closed-circuit feed
that comes nowhere close to replicating the courtroom experience, overflow rooms that
cannot possibly accommodate the number of people interested in observing this trial,2 and

1 Although the Court has offered to widen the angle shot by this camera so that the lectern
and multiple counsel tables can be viewed simultaneously, it has warned that this picture is
grainy and shot from so far away that it is hard to tell who is speaking, much less discern
facial expressions and body language.
2For point of reference, at least 23.2 million Americans watched as the verdict was read in
       2021. Associated Press, Nielsen: at least 23.2
million watched Chauvin verdict, ABCNews.com (Apr. 22, 2021),



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the de facto sealing of trial exhibits during the pendency of trial 
                Order
Denying Motion to Reconsider and Amend Order Allowing Audio and Video Coverage of
Trial at 3, State v. Chauvin, No. 27-cr-20-12646 (Henn Cnty. Dec. 18, 2020),
https://mncourts.gov/mncourtsgov/media/High-Profile-Cases/27-CR-20-
12646/Order12182020.pdf.3

Judge Cahill dealt with the challenges of the pandemic by permitting livestreaming of Mr.
     ands that this Court may not feel at liberty,
given Judicial Conference rules, to make a similar accommodationthough it notes that
even the U.S. Supreme Court has been livestreaming audio of oral arguments. 4 But
notwithstanding rules prohibiting camera coverage, and with all due respect, the Media
           see Presley, 558
U.S. a 210, to accommodate         . Rather, it is
effectively closing the courtroom doors in violation of the U.S. Constitution.

There are various routes to a more open trial. For example, the Court could move voir dire
(or even the entire trial) to a larger venue and/or reduce the number of potential jurors
brought in for questioning as a group so that more than two members of the media can be in
the room. Likewise, it can and should improve the closed-circuit feed to the overflow rooms
so members of the press and public can actually see the three men who are on trial without
sacrificing their ability to follow who is speaking and what that person is saying. And it can
and should ensure contemporaneous access to all trial exhibits so that journalists can review
those exhibits at the end of each day as they finalize their news reports.

It is in the best interest of all involved for the media coverage of this trial to be fair and
accurate and to enhance public understanding of the federal judicial system, including
understanding of how juries reach their verdicts. The best way to ensure such coverage is to

https://abcnews.go.com/Entertainment/wireStory/nielsen-228-million-watched-chauvin-
verdict-77251987.
3 See also Order Denying Motion to Reconsider November 4, 2020 Order Allowing Audio
and Video Coverage of Trial, State v. Lane et al., Nos. 27-CR-20-12949, 27-CR-20-12951,
27-CR-20-12953 (Henn. Cnty. Jan. 11, 2022),
https://mncourts.gov/mncourtsgov/media/High-Profile-Cases/27-CR-20-12951-
TKL/Order.pdf; Order Granting A/V Coverage of Trial, State v. Potter, No. 27-CR-21-7460
(Henn Cnty. Nov. 9, 2021), https://mncourts.gov/mncourtsgov/media/High-Profile-
Cases/27-CR-21-7460/Order-Regarding-Audio-Video-Coverage_1.pdf.
4 Press Release, U.S. Supreme Court (Apr. 13, 2020),
https://www.supremecourt.gov/publicinfo/press/pressreleases/pr_04-13-20.




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The Honorable Paul A. Magnuson
January 17, 2022
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provide to the media unfettered access to the trial and the evidence it involves. For this and
all the reasons discussed above, we ask that the Court adjust plans for the trial. The Media
Coalition is standing by to assist in any way it can.

Sincerely,

s/Leita Walker

Leita Walker



On behalf of:


 American Public Media Group       Gannett Satellite              Sahan Journal
 Association of Minnesota           Information Network,          The Silha Center for the
  Public Educational Radio          LLC                             Study of Media Ethics
  Stations                         Hubbard Broadcasting, Inc.       and Law
 The Associated Press              Minnesota Coalition on         Star Tribune Media
 Cable News Network, Inc.           Government Information          Company LLC
 CBS Broadcasting Inc.             National Public Radio          TEGNA, Inc.
 Court TV Media LLC                NBCUniversal Media,            WP Company LLC
 Fox/UTV Holdings, LLC              LLC
                                   The New York Times



cc:      The Honorable John R. Tunheim




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                     EXHIBI7'
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                    UNITED STATES DISTRICT COURT

                                    DISTRICT OF MINNESOTA
                          734 WARREN E. BURGER FEDERAL BUILDING
                                 316 NORTH ROBERT STREET
                               ST. PAUL, MINNESOTA 55101-1461

   CHAMBERS OF                                                              Telephone (651) 848-1150
PAUL A. MAGNUSON                                                                  FAX (651) 848-1152
     JUDGE                                               E-mail: Magnuson_Chambers@mnd.uscourts.gov




                          Wednesday, January 19, 2022


Leita Walker
BALLARD SPAHR
2000 IDS Center
80 South 8th Street
Minneapolis, MN 55402

      Re:    United States v. Thao, et al.
             21-CR-108 (PAM/TNL)

Dear Ms. Walker,

       I am in receipt of your letter dated January 17, 2022, expressing concern
regarding the public’s access to the upcoming trial in this matter. I have
carefully considered your arguments and suggestions, and I have concluded that
the trial will go forward with the restrictions currently in place.

       As you are undoubtedly aware, the current spread of the omicron variant
has created an unprecedented situation for our court system. We must keep the
jurors we have invited to the courthouse as safe as possible, and science dictates
that restricting the number of people in the courtroom is the best way to do that.
I appreciate the parties’ willingness to accommodate Covid best practices and to
forego their usual right to have their families in attendance throughout the trial,
and especially their agreement to preclude family and friends from the
courtroom during jury selection so that members of the media may attend the
selection in person.
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Letter to Leita Walker
Wednesday, January 19, 2022
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       Finally, in this Circuit, the right of access to judicial records is “not
absolute.” United States v. Webbe, 791 F.2d 103, 106 (8th Cir. 1986). Indeed, the
decision whether to allow the public and media to access exhibits in a case is left
to my discretion. I will make that decision at the end of the case, considering
factors such as Defendants’ right to a fair trial in their upcoming state-court
proceeding, as well as the fact that the public and media will have access to those
exhibits as they are presented in Court, and will have access to transcripts of the
proceedings.

       I appreciate your concerns, but I do not share them. I believe that the
media and the public will have as much access to these proceedings as is possible
in this time of high Covid transmission.


                                            Very truly yours,



                                            United States District Court Judge
